Case 1:06-cv-01237-LJM-JMS            Document 37        Filed 12/05/06      Page 1 of 7 PageID #:
                                             730


                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION


PULSE ENGINEERING, INC.,                          )
          Plaintiff,                              )
                                                  )
       vs.                                        )         1:06-cv-1237-LJM-VSS
                                                  )
FEDERAL INSURANCE COMPANY,                        )
PACIFIC INDEMNITY COMPANY, and                    )
TRAVELERS INDEMNITY COMPANY,                      )
           Defendants.                            )


                     ORDER ON PLAINTIFF’S MOTION TO REMAND

       This matter comes before the Court on plaintiff’s, Pulse Engineering, Inc. (“Pulse”), Motion

to Remand and Pulse’s Application for Attorney’s Fees and Costs. In its motion, Pulse asserts that

defendant improperly removed this action in violation of the one-year limitation in 28 U.S.C. §

1446(b). Defendant, Travelers Indemnity Company (“Travelers”), responds that the one-year

limitation does not bar removal in this case or, in the alternative, that Travelers is entitled to

equitable relief from the statute’s one-year limitation. Travelers also filed its own Application for

Attorney’s Fees and Costs.



                                 I. FACTUAL BACKGROUND

       On July 29, 2004, Pulse filed suit in Indiana state court against Federal Insurance Company

(“Federal”), Pacific Indemnity Company (“Pacific”), and Hartford Accident and Indemnity Company

(“Hartford”) (collectively the “Defendants”). Pl.’s Br. at 2. Federal is an Indiana insurance

company. Id. at 2 n.1. Pulse’s suit sought a declaration that various insurance policies issued by the

Defendants required Defendants to defend and indemnify Pulse for environmental liabilities arising
Case 1:06-cv-01237-LJM-JMS            Document 37        Filed 12/05/06       Page 2 of 7 PageID #:
                                             731


from a property in Leesburg, Indiana (the “Site”). Id. at 2. The Site was owned and operated by GTI

Corporation (“GTI”), a company Pulse had acquired. Id. Pulse also sought damages alleging the

Defendants breached their obligations under the policies. Id.

       On October 12, 2004, Pulse filed an Amended Complaint against Federal, Hartford, and

Pacific. Id. In August 2005, Pulse settled its dispute with Hartford. Id. Following the state court’s

rulings on the remaining defendants’ motions to dismiss and for summary judgment, a trial date for

the matter was set on May 16, 2006. Id. at 3. During the period of May 9-10, 2006, Pulse received

additional documents relevant to the case from GTI’s historical insurance broker. Id. On May 11,

2006, Pulse settled its dispute with Federal and Pacific. Notice of Removal, Exh. C (“Motion for

Leave”). The settlement agreement between these parties was executed on June 30, 2006. Id.

       Pulse asserts that during the May 2006 document review it learned for the first time of its

related claim against Travelers. Pl.’s Br. at 3. Prior to filing dismissals with respect to the newly-

settled defendants, Pulse sought leave to file a Second Amended Complaint to add Travelers as a

defendant. Id. Pulse’s Second Amended Complaint was filed on July 31, 2006. Id. The Second

Amended Complaint did not state claims against Federal or Pacific, but stated “Pulse has settled its

claims against Federal and Pacific and will be filing a joint stipulation of dismissal with Federal and

Pacific shortly.” Notice of Removal, Exh. C (“Second Am. Compl.”), at ¶ 3. Thereafter, on August

11, 2006, Pulse filed a stipulation of dismissal with respect to Federal and Pacific. Pl’s Br. at 3.

Travelers filed its Notice of Removal on August 16, 2006. Id. Travelers based its Notice of

Removal solely on this Court’s diversity jurisdiction. Id.




                                                  2
Case 1:06-cv-01237-LJM-JMS           Document 37         Filed 12/05/06      Page 3 of 7 PageID #:
                                            732


                                         II. STANDARD

        A civil suit filed in state court may be removed to the federal court as long as the district

court has original jurisdiction. See Doe v. Allied-Signal, Inc., 985 F.2d 908, 911 (7th Cir. 1993)

(citing 28 U.S.C. § 1441). Courts should interpret the removal statute narrowly and presume that

the plaintiff may choose his or her forum. Id. (citing Illinois v. Kerr-McGee Chem. Corp., 677 F.2d

571, 576 (7th Cir.), cert. denied, 459 U.S. 1049 (1982)). Any doubt regarding jurisdiction should be

resolved in favor of the states. Id. (citing Jones v. Gen. Tire & Rubber Co., 541 F.2d 660, 664 (7th

Cir. 1976). The party seeking removal bears the burden of establishing federal jurisdiction. Id.

(citing Wilson v. Republic Iron & Steel Co., 257 U.S. 92 (1921)).



                                        III. DISCUSSION

        A. WHETHER TRAVELERS’ REMOVAL VIOLATES 28 U.S.C. § 1446(b)

       The parties disagree whether § 1446(b)’s one-year limitation is even at issue in this case.

Compare Pl.’s Br. at 5 (“Travelers filed its Notice of Removal . . . well beyond the one-year period

permitted by [§ 1446].”) with Def.’s Br. at 9 (“Travelers filed its notice to remove . . . well within

. . . [§ 1446's] one-year time limitations.”). 28 U.S.C. § 1446(b) provides:

       If the case stated by the initial pleading is not removable, a notice of removal may be
       filed within thirty days after receipt by the defendant, through service or otherwise,
       of a copy of an amended pleading, motion, order or other paper from which it may
       first be ascertained that the case is one which is or has become removable, except that
       a case may not be removed on the basis of jurisdiction conferred by section 1332 of
       this title more than 1 year after commencement of the action.

In this Court’s opinion, the resolution of the parties’ disagreement turns on whether Pulse’s Second

Amended Complaint commenced a new piece of litigation against Travelers.



                                                  3
Case 1:06-cv-01237-LJM-JMS           Document 37        Filed 12/05/06      Page 4 of 7 PageID #:
                                            733


       Other courts have questioned how to determine when an action has commenced for purposes

of § 1446(b). See Graft v. Alcoa, Cause No. 1:02-cv-1848, 2003 WL 1984347, at *2 (S.D. Ind. Apr.

4, 2003) (“A ‘key question for courts regarding removal under § 1446(b) has been when the action

commences for purposes of the statute.’” (quoting Sledz v. Flintkote Co., 209 F. Supp. 2d 559, 561-

62 (D. Md. 2002))). Courts have “looked to the law of the state in which the state court action

originated to determine when an action ‘commences.’” Id. (citations omitted). Under Indiana law,

an action is commenced “when the plaintiff presents the clerk with the documents necessary for

commencement of suit.” Boostrom v. Bach, 622 N.E.2d 175, 177 (Ind. 1993).

       While the date of the commencement of an action for state law purposes might be clear, the

removal court must consider whether a newly-filed claim is a new piece of litigation for removal

purposes. This Court finds direction from Knudsen v. Liberty Mut. Ins. Co., 411 F.3d 805 (7th Cir.

2005). In Knudsen, the defendant removed a class action case invoking the Class Action Fairness

Act (“CAFA”). Knudsen, 411 F.3d at 806. After the district court ordered a remand, the defendant

sought leave to appeal the ruling to the Seventh Circuit. Id. The Seventh Circuit denied the petition

for leave to appeal. Id. In dictum, the Knudsen court discussed how determining the date of

commencement might differ for purposes of federal law from state law. Id. at 807. The court stated:

       As we have already hinted, however, a new claim for relief (a new “cause of action”
       in state practice), the addition of a new defendant, or any other step sufficiently
       distinct that courts would treat it as independent for limitations purposes, could well
       commence a new piece of litigation for federal purposes even if it bears an old docket
       number for state purposes. Removal practice recognizes this point: an amendment
       to the pleadings that adds a claim under federal law (where only state claims had
       been framed before), or adds a new defendant, opens a new window of removal.

Id. (citing 28 U.S.C. § 1446(b)) (emphasis added). Pulse urges the Court to ignore Knudsen by

noting that Congress removed the one-year limitation in § 1446(b) when enacting CAFA. Pl.’s Br.


                                                 4
Case 1:06-cv-01237-LJM-JMS             Document 37        Filed 12/05/06       Page 5 of 7 PageID #:
                                              734


at 9. The CAFA has its own removal provision. 28 U.S.C. § 1453. However, the Seventh Circuit

indicated that it was not discussing the CAFA removal statute, it was discussing traditional removal

jurisprudence. Knudsen, 411 F.3d at 807. Therefore, the Court must consider whether Pulse’s

Second Amended Complaint naming Travelers as a defendant opened a new window for removal

by commencing a new piece of litigation.

        Pulse admits that it had settled in principle and, in fact, had already signed settlement

agreements with all of the original defendants in the case prior to the filing of its Second Amended

Complaint against Travelers. Motion for Leave ¶ 1. Further, Pulse’s Second Amended Complaint

did not even request relief against the settled defendants. Second Am. Compl. ¶ 3 (“Pulse has settled

its claims against Federal and Pacific and will be filing a joint stipulation of dismissal with Federal

and Pacific shortly.”). In other words, the settled defendants were merely nominal parties in the

Second Amended Complaint. Further, Pulse does not argue that Travelers was on notice of the

litigation prior to the filing of the Second Amended Complaint, but relies exclusively on the

commencement of the initial complaint against the prior defendants.1 Pulse’s Second Amended

Complaint only asserted one active claim, the claim against Travelers. Second Am. Compl. ¶ 3.

Because Pulse’s claims against Federal and Pacific were settled, these defendants’ presence in the

Second Amended Complaint is disregarded for removal purposes. See Lehr v. McCord, Cause No.

1:02-cv-1636, 2003 WL 21147365, at *3 (S.D. Ind. May 11, 2003) (“The presence of a “nominal

party” cannot defeat removal because that party does not affect diversity.” (citing Selfix, Inc. v. Bisk,



        1
         Pulse’s argument that Graft, 2003 WL 1984347, should control the outcome of this
decision is unpersuasive. Pl.’s Br. at 7-8. (“This case is indistinguishable from Graft.”). The
Graft court had not had the benefit of the Knudsen decision as Knudsen was decided two years
later. Graft, 2003 WL 1984347 at *1.

                                                   5
Case 1:06-cv-01237-LJM-JMS            Document 37         Filed 12/05/06      Page 6 of 7 PageID #:
                                             735


867 F. Supp. 1333, 1335 (N.D. Ill. 1994) (citing Shaw v. Dow Brands, Inc., 994 F.2d 364, 369 (7th

Cir. 1993)))).

        On these facts, the Court concludes that Pulse’s Second Amended Complaint commenced

a new piece of litigation as of July 31, 2006. Because Pulse’s action against Travelers was initially

removable when it was filed, the one-year limitation does not apply to Travelers’ Notice of Removal.

See Brown v. Tokio Marine and Fire Ins. Co., 284 F.3d 871, 873 (8th Cir. 2002) (“Three other

circuits [the Fifth, Sixth, and Ninth] have addressed this question, and all three are in agreement that

rules of usage and statutory construction lead inevitably to the conclusion that the one-year limitation

period modifies only the second paragraph of § 1446(b), and therefore only applies to cases that were

not removable to federal court when originally filed. We are persuaded by the reasoning of those

cases and we hold that construction to be the proper interpretation of the statute.”). See also Hill v.

Ascent Assur. Inc., 205 F. Supp. 2d 606, 615 (N.D. Miss. 2002) (holding that the one-year limitation

does not apply to two newly-added plaintiffs’ Amended Complaint).

        Travelers’ Notice of Removal was filed on August 16, 2006, sixteen days after Pulse

commenced a new piece of litigation against Travelers by filing the Second Amended Complaint.

Therefore, Travelers’ Notice of Removal did not violate the time limitations in 28 U.S.C. § 1446(b).

For the reasons stated above, Pulse’s Motion for Remand is DENIED.



                 B. APPLICATIONS FOR ATTORNEY’S FEES AND COSTS

        Travelers requests costs and expenses incurred in the preparation of its opposition to

Plaintiff’s Motion to Remand. Def.’s Br. at 18. Pulse, however, relied on relevant cited authority

to form a reasonable belief that remand would be appropriate in this instance; therefore, Travelers’


                                                   6
Case 1:06-cv-01237-LJM-JMS                Document 37      Filed 12/05/06             Page 7 of 7 PageID #:
                                                 736


Application for Attorney’s Fees and Costs is DENIED. See Analytical Surveys, Inc. v. Intercare

Health Plans, Inc., 101 F. Supp. 2d 727, 736 (S.D. Ind. 2000). Because the Court ruled adversely

to it, Pulse’s Request for Attorney’s Fees and Costs is moot, and is therefore DENIED.



                                           IV. CONCLUSION

         For the foregoing reasons, the Court DENIES Pulse’s Motion to Remand. Further, the Court

DENIES both Pulse’s Application for Attorney’s Fees and Costs and Travelers’ Application for

Attorney’s Fees and Costs.

         IT IS SO ORDERED this 5th day of December, 2006.



                                               ___________________________________
                                               LARRY J. McKINNEY, CHIEF JUDGE
                                                LARRY
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                                                      States District CourtCHIEF JUDGE
                                                United States
                                               Southern       District
                                                        District       Court
                                                                 of Indiana
                                                Southern District of Indiana


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